     Case 2:17-cv-01066-SVW-JEM Document 1 Filed 02/09/17 Page 1 of 20 Page ID #:1



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 7   Attorneys for Plaintiff KRISTOPHER R. REVELES
 8
                        UNITED STATES DISTRICT COURT
 9

10                    CENTRAL DISTRICT OF CALIFORNIA
11
     KRISTOPHER R. REVELES, an                 )   Case No. 2:17-cv-01066
12
     individual,                               )
13                                             )   COMPLAINT FOR DAMAGES
14
                              Plaintiff,       )   1. 42 U.S.C. § 1983 (4th and
                                               )   14th Amendments -Excessive Use
15                      vs.                    )   of Force)
16   COUNTY OF VENTURA; VENTURA                )   2. 42 U.S.C. § 1983 Claims –
     COUNTY SHERIFF'S OFFICE;                  )   Municipal Defendant Liability
17
     VENTURA COUNTY SHERIFF GEOFF              )   3. 42 U.S.C. § 1983 -
18   DEAN, in his individual capacity;         )   Supervisory Liability
19
     DEPUTY JASON FULLER; DEPUTY               )
     AMBER VOORHEES; DEPUTY                    )   DEMAND FOR JURY TRIAL
20   MICHAEL SCHULTZ; and DOES 1               )
21   through 10, inclusive,                    )
                                               )
22
                                               )
23
                    Defendants.                )
24   __________________________________        )
 _
25
 _
26

27

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                                           1

                   COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:17-cv-01066-SVW-JEM Document 1 Filed 02/09/17 Page 2 of 20 Page ID #:2



 1                                    INTRODUCTION
 2   1.    This is a complaint for money damages by Plaintiff, arising under 42 U.S.C.
 3   §§ 1983 and 1988. Plaintiff seeks redress for deprivation of his rights, privileges
 4   and immunities, secured by the Fourth and Fourteenth Amendments to the United
 5
     States Constitution. This action arises out of an incident on February 13, 2015 in
 6
     which the individual Defendant police officers detained, arrested, handcuffed, and
 7
     then used excessive force against Plaintiff while he was in the throes of an
 8
     epileptic seizure and unable to communicate clearly. After he was handcuffed,
 9
     Plaintiff was tasered twice and had a rip hobble applied to his feet while he was
10
     lying face down on the ground with a police officer straddling him and holding
11
     him down.
12
                               JURISDICTION AND VENUE
13
     2.    Subject matter jurisdiction for this action is conferred upon this Court
14
     pursuant to 28 U.S.C. §§1331 and 1343, as it arises under 42 U.S.C. §1983.
15
     3.    The acts complained of arose in the Central District of California.
16
     Therefore, venue properly lies here pursuant to 28 U.S.C. § 1391. Venue in this
17
     Court is also proper pursuant to 28 U.S.C. §1391(b)(1), in that one or more
18
     Defendants resides in, or has its principal place of business in, the Central District
19
     of California.
20
                                           PARTIES
21
     4.    Plaintiff KRISTOPHER R. REVELES (“REVELES”), at all relevant times,
22
     was, and is, a resident of Thousand Oaks, Ventura County, California.
23
     5.    At all times material herein, Defendant COUNTY OF VENTURA,
24
     (“COUNTY”) was, and is, a public entity authorized by law to establish certain
25
     departments, responsible for enforcing the laws and protecting the welfare of the
26
     citizens of the COUNTY. At all times mentioned herein, Defendant COUNTY
27
     was, and is, ultimately responsible for overseeing the operation, management, and
28
                                                2

                      COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:17-cv-01066-SVW-JEM Document 1 Filed 02/09/17 Page 3 of 20 Page ID #:3



 1   supervision of the VENTURA COUNTY SHERIFF’S OFFICE ("VCSO").
 2   Defendant COUNTY is liable for the negligent and reckless acts of Defendants
 3   JASON FULLER, AMBER VOORHEES, and MICHAEL SCHULTZ, as well as
 4   other personnel employed at the VENTURA COUNTY SHERIFF’S OFFICE, as
 5
     described herein.
 6
     6.    At all times material herein, VCSO, was a public entity responsible for
 7
     providing law enforcement and detention services for Defendant COUNTY,
 8
     including the VCSO Patrol Services Division.
 9
     7.    At all times mentioned herein, Defendant VCSO was the duly authorized
10
     law enforcement agency in and for the City of Westlake Village, California, and
11
     was responsible for overseeing the operation, management, supervision and
12
     training of the employees who provide law enforcement services in Westlake
13
     Village, California, and is liable for the negligent and reckless acts of all
14
     employees, personnel, and entities, including, but not limited to, Defendants
15
     JASON FULLER, AMBER VOORHEES, and MICHAEL SCHULTZ, as well as
16
     other personnel employed at the VENTURA COUNTY SHERIFF’S OFFICE, as
17
     described herein.
18
     8.    At all times material herein, Defendant VENTURA COUNTY SHERIFF
19
     GEOFF DEAN (“DEAN”), was the chief deputy of VCSO, and was responsible
20
     for supervising, operating, and managing VCSO employees and agents and was
21
     further responsible for making, forming and maintaining the policies, practices
22
     customs, and procedures used at VCSO by all VCSO employees and agents. He is
23
     being sued in his individual capacity.
24
     9.    At all times material herein, Defendant JASON FULLER (“FULLER”) was,
25
     and is, a natural person, residing in the Central District of California and acting as
26
     a duly appointed patrol deputy, under color of law, employed by Defendants
27
     COUNTY and VCSO which is located in the Central District of California.
28
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                     COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:17-cv-01066-SVW-JEM Document 1 Filed 02/09/17 Page 4 of 20 Page ID #:4



 1   10.   At all times material herein, Defendant AMBER VOORHEES
 2   (“VOORHEES”) was, and is, a natural person, residing in the Central District of
 3   California and was acting as a duly appointed patrol deputy, under color of law,
 4   employed by Defendants COUNTY and VCSO which is located in the Central
 5
     District of California.
 6
     11.   At all times material herein, Defendant MICHAEL SCHULTZ
 7
     (“SCHULTZ”) was, and is, a natural person, residing in the Central District of
 8
     California and was acting as a duly appointed patrol deputy, under color of law,
 9
     employed by Defendants COUNTY and VCSO which is located in the Central
10
     District of California.
11
     12.   Upon information and belief, Defendants DOES 1-10 were each responsible
12
     in some manner for the injuries and damages alleged herein. The true names and
13
     identities of Defendants DOES 1-10 are presently unknown to Plaintiff. At all
14
     relevant times herein Defendants DOES 1-10 were employees and/or agents of
15
     COUNTY and/or VCSO. Defendant DOES 1-10 include, inter alia, COUNTY
16
     and/or VCSO deputies or supervising employees and/or agents who were involved
17
     in any manner in the incidents and legal claims for relief alleged in this Complaint.
18
     Plaintiff will amend this Complaint to allege their true names and capacities when
19
     they are ascertained. Plaintiff is informed, believes, and based thereon alleges that
20
     each Defendant DOE herein is in some manner responsible for the injuries and
21
     damages suffered by Plaintiff REVELES.
22
                                GENERAL ALLEGATIONS
23
     13.   This action is brought under Title 42 U.S.C. §§1983, 1988, and the Fourth
24
     and Fourteenth Amendments of the United States Constitution, and pursuant to the
25
     general laws of the United States. Plaintiff alleges that he was assaulted, battered,
26
     tased and arrested by law enforcement deputies with excessive use of force, and
27
     that Defendants conspired to falsify evidence, wrote police reports containing
28
                                               4

                     COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:17-cv-01066-SVW-JEM Document 1 Filed 02/09/17 Page 5 of 20 Page ID #:5



 1   materially false descriptions of Plaintiff’s actions, in order to prosecute him for
 2   crimes which he did not commit, and obstruct his access to justice.
 3   14.    Defendants FULLER, VOORHEES, and SCHULTZ are being sued in their
 4   individual capacities. At the time of the acts complained, Defendants FULLER,
 5
     VOORHEES, and SCHULTZ were duly-appointed VCSO deputies employed as
 6
     such by Defendant COUNTY. At the time of the acts hereinafter complained of,
 7
     Defendants FULLER, VOORHEES, and SCHULTZ acted in the course and scope
 8
     of their employment and acted under color of law.
 9
     15.    At all relevant times, Defendants COUNTY, VCSO and DEAN were
10
     ultimately responsible for the hiring, training, supervision, and discipline of
11
     Defendants FULLER, VOORHEES, and SCHULTZ, and were responsible for
12
     violation of Plaintiff’s rights.
13
     16.    At all relevant times, each Defendant was individually and jointly engaged
14
     in tortious activity, resulting in the deprivation of Plaintiff’s constitutional rights
15
     and other harm.
16
     17.    Plaintiff is informed and believes that each Defendant sued herein was
17
     responsible in some manner for the events as hereinafter described, and
18
     proximately caused injuries and damages to Plaintiff.
19
     18.    Upon information and belief, Defendants DOES 1-10 were each responsible
20
     in some manner for the injuries and damages alleged herein.
21
                                 FACTUAL ALLEGATIONS
22
     19.    On February 13, 2015, Plaintiff was working washing cars in the parking lot
23
     of the J.D. Powers and Associates building which is located at 2625 Townsgate
24
     Road, Westlake Village, California 91361 (Townsgate Building). Plaintiff was
25
     employed by his uncle, Danny Luna, and had washed cars in this parking lot on
26
     numerous occasions in the past.
27

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                     COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:17-cv-01066-SVW-JEM Document 1 Filed 02/09/17 Page 6 of 20 Page ID #:6



 1   20.   Plaintiff has a documented medical history of suffering from focal epilepsy
 2   which is a chronic disorder marked by repeated seizures causing a sudden loss or
 3   change of consciousness. Plaintiff has suffered both "absence" or "petit mal"
 4   seizures where a person's consciousness is briefly interrupted and some "atonic"
 5
     seizures, where a person momentarily loses all consciousness. Symptoms of
 6
     absence seizures include staring into space, and may include movements such as
 7
     blinking, chewing, lip-smacking or hand gestures. (See
 8
     http://www.epilepsy.com/learn/types-seizures/absence-seizures)
 9
     21.   Plaintiff also suffers from a "postictal" state of confusion directly after
10
     suffering a seizure. Postictal state is an altered state of consciousness after an
11
     epileptic seizure. It usually lasts between 5 and 30 minutes, but sometimes longer
12
     in the case of larger or more severe seizures, and is characterized by drowsiness,
13
     confusion, nausea, hypertension, headache or migraine, and other disorienting
14
     symptoms.
15
     22.   Plaintiff was diagnosed with epilepsy when he was a teenager. He is
16
     currently 28 years-old. Plaintiff, like most people who suffer from epileptic
17
     seizures, recalls very little of the events associated with the seizure episode.
18
     23.   Ventura County police, fire and paramedics were well aware of Plaintiff’s
19
     epilepsy because he had had several prior seizure incidents in the years preceding
20
     this incident in which police, fire and/or paramedics responded and he was either
21
     arrested or taken to a hospital for treatment.
22
     24.   At the time of the incident, Plaintiff was switching seizure medications from
23
     Phenytoin to Levetiracetam. Because of a gap in MediCal coverage, Plaintiff had
24
     not taken any medication for his seizures for several days prior to the incident.
25
     This caused Plaintiff to suffer a seizure or seizures while he was at 2625
26
     Townsgate Road, Westlake Village, California 91361.
27

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                     COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:17-cv-01066-SVW-JEM Document 1 Filed 02/09/17 Page 7 of 20 Page ID #:7



 1   25.   At approximately 1:30 p.m., Plaintiff left the parking lot and went inside the
 2   building from the entrance that abuts the 101 highway in order to go to the
 3   bathroom. Plaintiff knew from prior experience that there was a freight elevator
 4   that could take him to the second floor bathroom. When he got to the second floor,
 5
     he realized that he was experiencing symptoms which caused him to recognize that
 6
     he was about to have a seizure. When this had occurred in the past he was able to
 7
     get himself to a place where he could safely experience the seizure. Plaintiff found
 8
     the closest seat he could find and tried to write down a note asking for help and
 9
     giving the phone number of his uncle who was outside washing cars.
10
     Unfortunately, he was unable to complete the note by the time police arrived.
11
     26.   At the time of the incident, Plaintiff was wearing a blue tank top and shorts
12
     and was unarmed. Plaintiff was approximately 184 pounds and he is 5'9".
13
     27.   One of the office occupants noticed Plaintiff sitting at an office desk where
14
     he did not belong and contacted the police for assistance with him.
15
     28.   Defendants FULLER and VOORHEES were dispatched to the Townsgate
16
     Building, with FULLER arriving first.
17
     29.   At the time, Defendant FULLER weighed 275 pounds. Plaintiff is currently
18
     unaware of FULLER'S height.
19
     30.   Defendant FULLER audio-recorded the interaction between Plaintiff and the
20
     police officers inside the Townsgate Building. Defendants FULLER and
21
     VOORHEES failed to activate their audio recording devices throughout the
22
     incident.
23
     31.   Defendant FULLER first encountered Plaintiff on the second floor where he
24
     was sitting. FULLER asked Plaintiff several questions about why he was there and
25
     whether he had identification. Plaintiff was non-responsive because he was having
26
     a seizure.
27

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                    COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:17-cv-01066-SVW-JEM Document 1 Filed 02/09/17 Page 8 of 20 Page ID #:8



 1   32.   Defendant FULLER did not ask Plaintiff any questions related to
 2   ascertaining whether Plaintiff was undergoing a medical incident. Defendant
 3   FULLER assumed that Plaintiff was under the influence of drugs. Defendant
 4   FULLER also assumed that Plaintiff was refusing to speak rather than being
 5
     physically unable to do so. Defendant FULLER failed to follow VCSD, California
 6
     Police Officer Training and Standards, and Crisis Intervention Team training,
 7
     standard operating procedures, orders and directives regarding mentally disturbed
 8
     people or people undergoing a medical crisis.
 9
     33.   Defendant FULLER was immediately and unjustifiably aggressive with
10
     Plaintiff. While Plaintiff was in a non-responsive state, Defendant FULLER stated
11
     twice to Plaintiff, "If you elect to fight us - you are going to get hurt." He then
12
     forcibly lifted Plaintiff out of the chair. Defendants FULLER and VOORHEES
13
     handcuffed Plaintiff with no resistance by Plaintiff. Defendant FULLER and
14
     VOORHEES continued to ask Plaintiff questions which he did not respond to.
15
     34.   It appears from the audio-recording, Defendant FULLER did not understand
16
     why Plaintiff was non-responsive to his questioning and completely failed to
17
     recognize that Plaintiff was in the midst of a medical emergency. FULLER also
18
     asked Plaintiff several times if he was high or on drugs.
19
     35.   After FULLER had handcuffed Plaintiff, FULLER reached into Plaintiff's
20
     pockets and found a plastic lighter. FULLER threw the lighter onto the ground.
21
     Plaintiff reached down to pick it up, and FULLER jerked him away and stated,
22
     "don't worry about that - it's garbage". Plaintiff spoke for the first time and asked
23
     FULLER to relax. FULLER told Plaintiff that he should relax and that he was not
24
     the one running the show.
25
     36.   While Defendants FULLER and VOORHEES were walking Plaintiff to the
26
     elevator to go downstairs, Plaintiff went limp. Defendant FULLER applied a pain
27
     compliance control hold to Plaintiff, who remained handcuffed. FULLER and
28
                                                8

                     COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:17-cv-01066-SVW-JEM Document 1 Filed 02/09/17 Page 9 of 20 Page ID #:9



 1   VORHEES dragged him to the elevator while continuing the pain compliance
 2   hold. The Defendants were pulling him, squeezing his arm tightly, and twisting his
 3   handcuffed wrists.
 4   37.   Before getting on the elevator, Defendant FULLER twisted Plaintiff's arm
 5
     enough to cause Plaintiff to cry out in pain and ask FULLER to stop. Defendant
 6
     FULLER asked, "Are you going to go with the program?" while twisting his arm
 7
     even though Plaintiff was not resisting. Any movement by Plaintiff was clearly in
 8
     response to the pain caused by FULLER's twisting his arm. Plaintiff repetitively
 9
     cried out in pain while telling FULLER to stop twisting and squeezing his arm and
10
     his wrist. This caused FULLER to twist it even more while saying, "How's that
11
     working for you?"
12
     38.   When VOORHEES asked Plaintiff “what his deal was”, Plaintiff responded,
13
     "he's squeezing my wrists." Defendant VOORHEES also asked him what he had
14
     smoked that day, also erroneously assuming that Plaintiff was on drugs, rather than
15
     experiencing a medical emergency.
16
     39.   In the elevator, Defendant FULLER asked Plaintiff, "what did you smoke
17
     today?" Defendant FULLER continued to twist Plaintiff's arm. He told Plaintiff to
18
     "shut his mouth" when Plaintiff said he was not doing anything and asked
19
     FULLER to stop yelling at him. Defendant FULLER pushed Plaintiff's head into
20
     the corner of the elevator and said that he was going to throw Plaintiff to the
21
     ground in a minute. Plaintiff continued to ask FULLER to stop twisting his arm,
22
     stop pushing his head into the corner, and stop yelling at him. In response,
23
     Defendant FULLER told him to "stop being a bitch" and then started to force
24
     Plaintiff to get on the ground.
25
     40.   Soon thereafter, the elevator reached the first floor and the elevator door
26
     opened. There are two surveillance cameras in the Townsgate Building lobby
27

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                     COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:17-cv-01066-SVW-JEM Document 1 Filed 02/09/17 Page 10 of 20 Page ID #:10



 1    which captured the interaction between Defendants FULLER, VOORHEES and
 2    Plaintiff as they exited the elevator into the lobby.
 3    41.   The video shows FULLER with his hands around Plaintiff's throat. Then
 4    Defendant FULLER drew back his right hand, made a fist and drew it close to
 5
      Plaintiff's face as if he was going to punch him. Defendant VOORHEES joined
 6
      FULLER in forcing Plaintiff to the ground. During the struggle, FULLER was
 7
      behind Plaintiff and holding on to him with both hands. VORHEES approached
 8
      and grabbed Plaintiff in the upper torso area and pulled him to the right and
 9
      towards the ground. At this time, Fuller’s legs became intertwined with Plaintiff's
10
      legs while and he fell to the ground. FULLER injured his right knee and remained
11
      on his back throughout the rest of the incident. While still at the scene, FULLER
12
      explained "when we went to the floor, my knee folded the wrong way." He stated,
13
      "it's my right knee - went out - folded back."
14
      42.   While FULLER was falling down, Defendant VOORHEES pulled Plaintiff
15
      down to the ground a few feet away from FULLER. Plaintiff landed on his back.
16
      43.   While Plaintiff was on his back and VOORHEES was kneeling over him,
17
      she was able to call for back-up and an ambulance. VOORHEES then began
18
      hitting Plaintiff and he asked her repeatedly to stop. VOORHEES then
19
      commanded Plaintiff to get on his stomach and threatened to tase him if he failed
20
      to comply. VOORHEES then flipped Plaintiff over onto his stomach. It was only
21
      after flipping Plaintiff onto his stomach that Defendant VOORHEES tased
22
      Plaintiff. She tased Plaintiff with her taser pressed to his back while she was on his
23
      back. The taser probes plunged deeply into Plaintiff’s skin and high voltage
24
      electricity surged through his body.
25
      44.   One of the taser probes was so deeply embedded into plaintiff’s skin that it
26
      required a doctor to safely remove it at the hospital.
27

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                      COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:17-cv-01066-SVW-JEM Document 1 Filed 02/09/17 Page 11 of 20 Page ID #:11



 1    45.   After he was tasered, Plaintiff cried out in pain and begged her to stop. He
 2    yelled, "I have seizures! Please stop, I have seizures!" Plaintiff continued to state
 3    that he had not done anything wrong and that FULLER had been twisting his arm.
 4    46.   While VOORHEES was still on top of Plaintiff, he complained that she was
 5
      crushing his knee and genitals. She replied, "I don't care what I'm smashing right
 6
      now." Approximately three minutes after she tased him the first time, and while
 7
      she was still on top of Plaintiff, VOORHEES pressed the taser button again which
 8
      sent high voltage electricity through his body a second time. When Plaintiff
 9
      protested being tasered again while handcuffed and on the ground, Defendant
10
      FULLER laughed.
11
      47.   At the time Defendant SCHULTZ arrived, Plaintiff was subdued and was
12
      not kicking or moving. Defendant VOORHEES was straddling Plaintiff who was
13
      face down on the ground after at least two taser full taser cycles. Nonetheless,
14
      Defendant SCHULTZ placed a rip hobble on Plaintiff's ankles which caused him
15
      additional pain and discomfort. Defendants left Plaintiff in this position for
16
      approximately 30 minutes.
17
      48.   After she took Plaintiff to Los Robles Hospital for a medical clearance,
18
      VOORHEES placed Plaintiff in the back of a squad care and interviewed him.
19
      This interview was video-recorded. During this interview, Plaintiff explained that
20
      he was suffering from a seizure or seizures when he went inside the building.
21
      VOORHEES’ comments in this interview indicate that the only type of seizure she
22
      was familiar with was grand-mal seizures with convulsions.
23
      49.   Despite having knowledge that Plaintiff was suffering from seizures which
24
      explained his non-responsive and confused behavior, she arrested him on felony
25
      charges of violation of Penal Code section 69 which provides, in relevant part that:
26
      “Every person who attempts, by means of any threat or violence, to deter or
27
      prevent an executive officer from performing any duty imposed upon such officer
28
                                                11

                      COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:17-cv-01066-SVW-JEM Document 1 Filed 02/09/17 Page 12 of 20 Page ID #:12



 1    by law, or who knowingly resists, by the use of force or violence, such officer, in
 2    the performance of his duty.”
 3    50.   On August 18, 2015, the Ventura County District Attorney’s Office charged
 4    Plaintiff in Ventura County Case No. 2015004820 with a misdemeanor violation of
 5
      Penal Code § 148(a)(1) – resisting arrest. On April 19, 2016, the complaint was
 6
      amended to add a misdemeanor violation of Penal Code § 148.10(a) – resisting
 7
      arrest resulting in serious bodily injury. Plaintiff pled not guilty to the complaint,
 8
      and, after a series of continuances, the jury trial commenced on November 3, 2016.
 9
      Plaintiff was acquitted on both counts on November 9, 2016.
10
      51.   Plaintiff suffered physical injuries as a result of Defendant FULLER,
11
      VOORHEES, and SCHULTZ'S use of force on him, including but not limited to,
12
      wounds caused by the taser probes and bruises.
13
      52.   Plaintiff also suffered emotional distress resulting from the incident.
14
                                FIRST CLAIM FOR RELIEF
15
                      Violation of Civil Rights: Excessive Use of Force
16
                        (42 U.S.C. § 1983/4th and 14th Amendments)
17
         Against Defendants FULLER, VOORHEES, SCHULTZ, and DOES 1-10
18
      53.   Plaintiff incorporates by reference each and every allegation contained in the
19
      foregoing paragraphs, as though set forth herein verbatim.
20
      54.   Plaintiff brings this cause of action under 42 U.S.C. § 1983, as against
21
      Defendants FULLER, VOORHEES, SCHULTZ, and DOES 1-10.
22
      55.   This action arises under 42 U.S.C. §§ 1983 and 1988, the United States
23
      Constitution, and common law principles. By engaging in the conduct described
24
      hereinabove, Defendants FULLER, VOORHEES, SCHULTZ, and DOES were
25
      acting or pretending to act, under the color of state law as deputies employed by
26
      Defendant VCSO, and violated Plaintiff REVELES’ civil rights afforded to him
27
      under the United States Constitution, including his right to be free from excessive
28
                                                12

                      COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:17-cv-01066-SVW-JEM Document 1 Filed 02/09/17 Page 13 of 20 Page ID #:13



 1    and unreasonable force in violation of his rights protected under the Fourth and
 2    Fourteenth Amendments.
 3    56.   As a direct and proximate result of Defendants' and DOES' wrongful
 4    conduct described hereinabove, Plaintiff REVELES suffered physical and
 5
      emotional injuries, including but not limited to, taser wounds, lacerations,
 6
      abrasions, and scarring.
 7
      57.   Plaintiff REVELES has suffered special and general damages as allowable
 8
      under federal law in an amount to be proven at trial. These injuries and damages
 9
      are ongoing.
10
      58.   Plaintiff is informed, believes, and based thereon alleges that by engaging in
11
      the conduct alleged herein, Defendants FULLER, VOORHEES, SCHULTZ, and
12
      DOES acted with the intent to injure, vex, annoy and harass Plaintiff REVELES,
13
      and subjected Plaintiff REVELES to cruel and unjust hardship in conscious
14
      disregard of Plaintiff REVELES’ rights, with the intention of causing Plaintiff
15
      REVELES injury and depriving him of his constitutional rights.
16
      59.   As a result of the foregoing, Plaintiff REVELES seeks exemplary and
17
      punitive damages against Defendants FULLER, VOORHEES, SCHULTZ, and
18
      DOES.
19
      60.   Further, as a result of the foregoing, Plaintiff REVELES seeks an award of
20
      reasonable attorneys’ fees and costs according to proof, pursuant to 42 U.S.C.
21
      §1988.
22
                                 SECOND CLAIM FOR RELIEF
23
                     42 U.S.C. § 1983 Claims (Municipal Liability Claims -
24
             Deliberate Indifference and Failure to Supervise, Train and Hire)
25
                 Against Defendants COUNTY, VCSO, DEAN, and DOES
26
      61.   Plaintiff incorporates by reference each and every allegation contained in the
27
      foregoing paragraphs, as though set forth herein verbatim.
28
                                               13

                       COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:17-cv-01066-SVW-JEM Document 1 Filed 02/09/17 Page 14 of 20 Page ID #:14



 1    62.   Plaintiff brings this cause of action under 42 U.S.C. § 1983, as against
 2    Defendants COUNTY, VCSO, DEAN, and DOES.
 3    63.   Defendants FULLER, VOORHEES, and SCHULTZ's violations of Plaintiff
 4    REVELES’ Fourth and Fourteenth Amendment rights to be free from excessive
 5
      use of force, unlawful seizure, and deprivation of liberty, as set forth herein, were
 6
      the direct and proximate results of Defendants COUNTY, VCSO, DEAN, and
 7
      DOES' maintaining longstanding customs, policies, practices and/or procedures
 8
      which tolerate and condone Defendants FULLER, VOORHEES, and SCHULTZ's
 9
      violations, as set forth herein.
10
      64.   These longstanding customs, policies, practices and/or procedures, include,
11
      but are not limited to, Defendants COUNTY, VCSO, DEAN, and DOES's standard
12
      operating procedures as well as accepted practices.
13
      65.   Said customs, policies, practices and/or procedures include, inter alia: an
14
      ongoing pattern of condoning and having a deliberate indifference towards
15
      citizens’ constitutional rights in connection with the following acts committed by
16
      VCSO deputies: (1) the use of excessive force or violence in a reckless and
17
      unreasonable manner; (2) unconstitutional seizures and deprivations of liberty; (3)
18
      the conforming of false testimony, evidence or reports by all deputies involved in
19
      an incident to protect one or more of them from criminal prosecution or
20
      administrative discipline and/or to allow for malicious prosecution; (4) the
21
      performance of sham or deficient investigations of allegations of deputy
22
      misconduct designed to allow deputies’ misconduct to escape detection by
23
      superiors and/or superiors who guide or shape the investigation to support a result
24
      exonerating the involved deputies; (5) the planting of evidence or withholding
25
      evidence to favor the involved deputies’ version of a disputed and complained of
26
      incident of police misconduct; (6) the ratification of misconduct to avoid referral
27

28
                                                14

                      COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:17-cv-01066-SVW-JEM Document 1 Filed 02/09/17 Page 15 of 20 Page ID #:15



 1    for criminal prosecution; and (7) the public denial or minimization of rampant
 2    problems of dishonesty and brutality within VCSO.
 3    66.   The policy-makers for the deputies of Defendant VCSO at the time of the
 4    incident were Defendant DEAN and DOES. As such, they had the duty to make
 5
      and maintain customs, policies, practices and/or procedures which address and
 6
      cure the problems of use of excessive force and other civil rights violations
 7
      committed by VCSO deputies in general. Rather than creating or maintaining such
 8
      customs, policies, practices and/or procedures, Defendant DEAN and DOES
 9
      created and maintained policies and practices which caused a deliberate
10
      indifference toward Plaintiff REVELES' constitutional rights as well as citizens’
11
      constitutional rights in general and caused harm to Plaintiff REVELES by
12
      condoning deputy commissions of violations including excessive use of force,
13
      unreasonable seizure and the deprivation of liberty.
14
      67.   The above described customs, policies, practices and/or procedures
15
      demonstrate a deliberate indifference on the part of the policy-makers of
16
      Defendants COUNTY and VCSO to the constitutional rights of persons within
17
      COUNTY, and were a moving force behind the violations of Plaintiff REVELES’
18
      rights alleged herein.
19
      68.   Plaintiff is informed, believes, and based thereon alleges that Defendants
20
      COUNTY, VCSO, DEAN, and DOES knew, or in the exercise of reasonable care
21
      should have known prior to February 13, 2015, that VCSO deputies, including
22
      Defendants FULLER, VOORHEES, SCHULTZ, and DOES, were engaging in the
23
      conduct described hereinabove.
24
      69.   Plaintiff is informed, believes, and based thereon alleges that Defendants
25
      COUNTY, VCSO, DEAN, and DOES knew, or in the exercise of reasonable care
26
      should have known, prior to February 13, 2015, that VCSO deputies, including
27
      Defendants FULLER, VOORHEES, SCHULTZ, and DOES, had a history,
28
                                               15

                      COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:17-cv-01066-SVW-JEM Document 1 Filed 02/09/17 Page 16 of 20 Page ID #:16



 1    propensity, pattern and practice of adhering to the unlawful and unconstitutional
 2    police actions described herein and above.
 3    70.   Notwithstanding this information and the history of VCSO deputies
 4    including Defendants FULLER, VOORHEES, SCHULTZ, and DOES, Plaintiff is
 5
      informed, believes and based thereon alleges that Defendants COUNTY, VCSO,
 6
      DEAN, and DOES failed to properly screen applicants and hired persons who were
 7
      psychologically unfit for duty and used unreasonable police tactics, which led to
 8
      the constitutional violations of Plaintiff REVELES’ constitutional rights as alleged
 9
      herein and above.
10
      71.   Plaintiff is informed, believes, and based thereon alleges that Defendants
11
      COUNTY, VCSO, DEAN and DOES generally failed to train and supervise VCSO
12
      deputies, including Defendants FULLER, VOORHEES, and SCHULTZ and
13
      DOES, in order to halt and prevent the type of conduct which resulted in violating
14
      Plaintiff REVELES’ constitutional rights.
15
      72.   Plaintiff is informed, believes, and based thereon alleges that Defendants
16
      COUNTY, VCSO, DEAN, and DOES have customs, policies or practices which
17
      condone and/or ignore misconduct of VCSO deputies and fail to impose discipline.
18
      As a result, the custom, practice or policy results in the retention of deputies such
19
      as Defendants FULLER, VOORHEES, SCHULTZ, and DOES who have a
20
      propensity to cause constitutional violations such as use of excessive force,
21
      unreasonable seizure, liberty deprivations and falsification of evidence. This
22
      failure to discipline condones, ratifies, promotes and perpetuates VCSO deputies’
23
      misconduct and their “code of silence” and was a moving force behind the
24
      violations of Plaintiff REVELES’ constitutional rights.
25
      73.   Plaintiff is informed, believes, and based thereon alleges that Defendants
26
      COUNTY, VCSO, DEAN, and DOES expressly or tacitly encouraged, ratified,
27
      and/or approved of the acts and/or omissions alleged herein, and knew that such
28
                                                16

                      COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:17-cv-01066-SVW-JEM Document 1 Filed 02/09/17 Page 17 of 20 Page ID #:17



 1    conduct was unjustified and would result in violations of Plaintiff REVELES’
 2    constitutional rights.
 3    74.   As a result of the foregoing, Plaintiff REVELES was subjected to physical
 4    and emotional injuries that were a direct and proximate result of Defendants
 5
      COUNTY, VCSO, DEAN, and DOES' failure to maintain customs, policies,
 6
      practices or procedures designed to protect the constitutional rights of the public.
 7
      75.   Defendants COUNTY, VCSO, DEAN, and DOES expressly or tacitly
 8
      encouraged, ratified, and/or approved of the acts and/or omissions of the Defendant
 9
      deputies alleged herein, and knew that such conduct was unjustified and would
10
      result in violations of Plaintiff REVELES’ constitutional rights.
11
                                  THIRD CLAIM FOR RELIEF
12
                           42 U.S.C. § 1983 (Supervisory Liability)
13
                               Against Defendant DEAN and DOES
14
      76.   Plaintiff incorporates by reference each and every allegation contained in the
15
      foregoing paragraphs, as though set forth herein verbatim.
16
      77.   This Count arises under 42 U.S.C. § 1983, and is brought against Defendant
17
      DEAN and DOES as individuals.
18
      78.   A supervisor may be individually liable if there exists a sufficient causal
19
      connection between the supervisor’s wrongful conduct and the constitutional
20
      violation. Supervisory liability exists even without overt personal participation in
21
      the offensive act, if supervisory officials implement a policy so deficient that the
22
      policy itself is a repudiation of constitutional rights and is the moving force of the
23
      constitutional violation.
24
      79.   DEAN was and is a supervisor of Defendants FULLER, VOORHEES, and
25
      SCHULTZ.
26
      80.   On information and belief, Defendant DEAN and DOES are responsible for
27
      making and maintaining the policies and practices of the Defendant VCSO.
28
                                                17

                      COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:17-cv-01066-SVW-JEM Document 1 Filed 02/09/17 Page 18 of 20 Page ID #:18



 1    Defendant DEAN is responsible for ensuring that independent investigative and
 2    review procedures are in place, that measures are taken to sufficiently investigate
 3    the statements and reports of VCSO deputies, and to ensure that false statements
 4    are discovered and that their authors are disciplined and retrained. Defendant
 5
      DEAN is also responsible for ensuring that policies and procedures are in place for
 6
      independent review of the circumstances of force used by VCSO deputies, and
 7
      ensuring that when deputies use excessive force, they are disciplined and retrained.
 8
      81.   On information and belief, Defendant DEAN is aware that the current policy
 9
      and procedure for independently reviewing deputies’ statements and reports
10
      concerning arrests and the use of force is insufficient, and that there is no policy or
11
      procedure for independent review or sufficient investigation of the claims made by
12
      deputies following an incident of excessive use of force. On information and
13
      belief, Defendant DEAN has taken no measures to implement any form of
14
      independent review or sufficient investigatory procedure. On information and
15
      belief, Defendant DEAN maintains a policy and practice of ratifying claims made
16
      by deputies after an incident without any independent review or other sufficient
17
      investigatory measure. On information and belief, Defendant DEAN maintains a
18
      policy and practice within the VCSO of “rubber stamping” deputies’ versions of
19
      events, such that deputies rely on the practice and custom that false statements will
20
      neither be investigated nor unearthed.
21
      82.   On or before February 13, 2015, and for some time prior thereto and since
22
      that time, Defendant DEAN and DOES have either participated in, or known of, or
23
      should have known of, their subordinates excessive use of force, witness
24
      intimidation, suppression of evidence, falsification of evidence, and
25
      noncompliance with VCSO’s policy as to use of force and investigations of use of
26
      force incidents.
27

28
                                                18

                         COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:17-cv-01066-SVW-JEM Document 1 Filed 02/09/17 Page 19 of 20 Page ID #:19



 1    83.   On information and belief, Defendant DEAN and DOES are aware of
 2    numerous citizen complaints and lawsuits filed alleging excessive force by VCSO
 3    deputies and Defendant DEAN and DOES have taken no measures to implement
 4    any policy or procedure to ensure that said complaints are adequately and
 5
      independently investigated or that deputies who engage in the use of excessive
 6
      force are disciplined or retrained. The policies, customs and practices created and
 7
      maintained by Defendant DEAN and DOES are relied on by VCSO deputies, who
 8
      believe that they are permitted to use excessive force with impunity.
 9
      84.   By failing to implement any of the aforementioned constitutionally adequate
10
      policies, by maintaining a culture of impunity for excessive force and by rubber
11
      stamping reports containing false statements, Defendant DEAN and DOES were
12
      the moving force behind the conduct of Defendants FULLER, VOORHEES, and
13
      SCHULTZ and DOES, when they unlawfully arrested Plaintiff REVELES, used
14
      excessive force against him, and conspired to commit these violations against him
15
      because said Defendants believed that such conduct was, and is, permissible in the
16
      VCSO.
17
      85.   In engaging in the conduct alleged herein, Defendant DEAN and DOES
18
      acted with the intent to injure, vex, annoy and harass Plaintiff REVELES, and
19
      subjected Plaintiff REVELES to cruel and unjust hardship in conscious disregard
20
      of Plaintiff REVELES’ rights, with the intention of causing Plaintiff REVELES
21
      injury and depriving him of his constitutional rights.
22
      86.   Plaintiff REVELES seeks compensatory damages, including emotional
23
      distress, punitive damages, attorney’s fees and costs.
24
                                   PRAYER FOR RELIEF
25
            Wherefore, Plaintiff prays for judgment against Defendants, and each of
26
      them, on each and every cause of action as follows:
27
      1.    For general damages according to proof at trial;
28
                                                19

                     COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 2:17-cv-01066-SVW-JEM Document 1 Filed 02/09/17 Page 20 of 20 Page ID #:20



 1    2.    For special damages according to proof at trial;
 2    3.    For an award of punitive damages against Defendants FULLER,
 3    VOORHEES, SCHULTZ, DEAN, and DOES;
 4    4.    For declaratory and injunctive relief;
 5
      5.    For attorney’s fees and costs under 42 U.S.C. § 1988, or under any other
 6
      applicable statutes or law;
 7
      6.    For an award of Plaintiff’s costs of suit incurred herein;
 8
      7.    For an award of any applicable statutory penalties;
 9
      8.    For an award of any applicable interest amounts; and
10
      9.    For any other relief the Court deems appropriate.
11
            Respectfully submitted,
12
      Dated: February 8, 2017         LAW OFFICES OF BRIAN A. VOGEL, PC
13

14

15                                    By:             /s/
16                                    BRIAN A. VOGEL
                                      Attorney for Plaintiff
17
                                      KRISTOPHER R. REVELES
18

19

20                              DEMAND FOR JURY TRIAL
21
            Plaintiff hereby demands a jury trial.
22

23    Dated: February 8, 2017         LAW OFFICES OF BRIAN A. VOGEL, PC
24

25                                    By:             /s/
26                                    BRIAN A. VOGEL
                                      Attorney for Plaintiff
27
                                      KRISTOPHER R. REVELES
28
                                               20

                      COMPLAINT AND DEMAND FOR JURY TRIAL
